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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                        )
 CAMPAIGN FOR ACCOUNTABILITY,           )
                                        )
                             Plaintiff, )
                                        )
 v.                                     )                 Case No. 18-cv-783 (RDM)
                                        )
 U.S. ENVIRONMENTAL PROTECTION          )
 AGENCY,                                )
                                        )
                           Defendant. )
                                        )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s August 19, 2019 Minute Order, the parties hereby submit the

following Joint Status Report.

       1.       As stated in the August 10, 2018, Joint Status Report (ECF No. 13), Defendant

U.S. Environmental Protection Agency (EPA) and Plaintiff Campaign for Accountability agreed

that EPA would review 500 potentially responsive documents per month, with rolling

productions on the 15th of each month.

       2.       On May 15, 2019, Defendant released 589 pages of responsive documents.

Releases of responsive documents in the interim were delayed after Defendant determined that

they required additional review.

       3.       While processing the remaining responsive documents, Defendant discovered that

the amount of documents is substantial, and therefore was unable to meet the September 15,

2019, deadline earlier agreed to by the parties.

       4.       The parties have conferred and agreed that Defendant will make its final

production of responsive documents on or before October 31, 2019.




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         5.       The parties will confer regarding any questions raised or issues identified by

Plaintiff.

         6.       The parties propose to file a further joint status report by no later than November

7, 2019, regarding whether the parties are still conferring on open issues or whether the parties

believe that briefing is necessary in this case and, if so, proposing a briefing schedule.



Dated:         October 1, 2019                  Respectfully submitted,

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